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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 14-cv-23388-KMM

  ORLANDO ESTRADA,

         Plaintiff,

  v.

  FTS USA, LLC,

        Defendant.
  _________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon Defendant’s Memorandum on the Nature of

  Sanctions. (ECF No. 86). The Court referred the matter to the Honorable Chris M. McAliley,

  United States Magistrate Judge, who issued a Report and Recommendation, recommending that

  the Court order Plaintiff’s counsel to pay Defendant $60,000 in attorneys’ fees. (“R&R”) (ECF

  No. 98). Plaintiff did not file objections and the time to do so has passed. The matter is now ripe

  for review. As set forth below, the Court ADOPTS the R&R.1

         The Court assumes familiarity with the facts and procedural history.2 In a prior order,

  Magistrate Judge McAliley recommended that Plaintiff’s counsel be sanctioned pursuant to Rule

  11 of the Federal Rules of Civil Procedure and this Court adopted the R&R. See (ECF Nos. 78,

  85). Now, before the Court is Defendant’s Memorandum on the Nature of Sanctions. As set

  forth in the instant R&R, Magistrate Judge McAliley recommends that Plaintiff’s counsel pay



  1
   The Court may accept, reject, or modify, in whole or in part, the findings or recommendations
  made by the magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3).
  2
   Magistrate Judge McAliley set forth the background facts and procedural history in the R&R.
  See R&R at 1–4.
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  Defendant $60,000 as partial compensation for Defendant’s claimed attorneys’ fees, which

  represents an approximate one-third reduction of the $91,000 in fees Defendant claims. R&R at

  23. Plaintiff did not file any objections to the R&R.

         UPON CONSIDERATION of the Memoranda, the R&R, the pertinent portions of the

  record, and being otherwise fully advised in the premises, it is hereby ORDERED AND

  ADJUDGED that the R&R is ADOPTED. Consistent with Magistrate Judge McAliley’s R&R,

  Jamie H. Zidell and the J.H. Zidell, P.A., shall pay Defendant $60,000 as a sanction for

  Plaintiff’s counsel’s violation of Rule 11(b).

                                                               9th day of August, 2018.
         DONE AND ORDERED in Chambers, at Miami, Florida this ____



                                                   ____________________________________

                                                   K. MICHAEL MOORE
                                                   CHIEF UNITED STATES DISTRICT JUDGE

  c:     All Counsel of record




                                                     2
